        Case
         Case2:17-cr-00321-RFB-GWF
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     Representing the United States of America
7

8                         UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA
9

10   United States of America,
                                                 Case No. 2:17-cr-00321-RFB-GWF
11                Plaintiff,

12                v.                             EMERGENCY MOTION TO
                                                 UNSEAL COURT ORDERS,
13   HARRIS ET AL,                               SEARCH WARRANT AND
                                                 COMPLAINT
14                Defendant.

15

16
     CERTIFICATION: This Motion is timely filed.
17
           The United States, by and through the undersigned Assistant United States
18
     Attorney, respectfully requests that the Court unseal the following Court Orders,
19
     Search Warrant, and Complaint that were issued as part of the investigation in this
20
     case. The United States makes this request so the documents can be provided in
21

22

23
          Case
           Case2:17-cr-00321-RFB-GWF
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1    discovery to defense counsels within the discovery deadline as set for November 10,

2    2017 per the Court in ECF No. 43.1

3             The case numbers of the Orders, Search Warrant, and Complaint the United

4    States seeks to unseal includes: 2:17-mj-772-PAL, 2:17-mj-00778-VCF, 2:17-mj-

5    00780-VCF, 2:17-mj-00781-VCF, 2:17-mj-00811-NJK, 2:17-mj-00804-VCF, 2:17-mj-

6    00805-VCF, and 2:17-mj-840-CWH.

7    DATED this _7th_ day of _November_____, 2017.

8
                                                           Respectfully,
9
                                                           STEVEN W. MYHRE
10                                                         Acting United States Attorney

11                                                               //s//
                                                           ______________________________
12                                                         ALEXANDRA MICHAEL
                                                           Assistant United States Attorney
13

14

15   IT IS SO ORDERED:

16

17   _____________________________                                                    November 8, 2017
                                                                                      __________________
     United States Magistrate Judge                                                   Date
18

19

20

21

22   1
      The government attempted to meet and confer with defenes counsels but was unable to do so therefore the
     government files this in an abundance of caution in or to comply with the discovery deadline as set forth.
23   The government does not anticipate defenes counsels would object to the request given it is to facilitate providing discovery

                                                          2
